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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY

  ------------------------------------          X

  UNITED STATES OF AMERICA,                     :

             Plaintiff,                         :
                                                    09-cr-656-02 (SDW)
                      vs.                       :

  JOHN A. BENNETT,                              :

             Defendant.                         :

                                                :

  ------------------------------------          X




               MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
             JOHN A. BENNETT’S MOTION FOR A BILL OF PARTICULARS
                          AND FOR BRADY MATERIAL




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         Defendant John A. Bennett respectfully submits this memorandum of law in support of

  his motion for a bill of particulars pursuant Rule 7(f) of the Federal Rules of Criminal Procedure,

  and for immediate production of materials to which he is entitled pursuant to Brady v. Maryland,

  373 U.S. 83 (1963), and its progeny. Specifically, Mr. Bennett seeks an order directing the

  government (a) to provide a bill of particulars specifying the false statements it contends were

  made in furtherance of the charges alleged in the indictment and how the statements were false;

  and (b) to undertake a thorough review of its file and to provide forthwith all Brady material,

  including but not limited to all relevant information regarding the concession, made by its special

  agent in a sworn statement filed in Canada (but which the government has never produced to the

  defense) that the government’s key cooperating witness, Robert Griffiths, admitted that he

  concealed from Mr. Bennett that the company that Griffiths allegedly used to funnel improper

  payments to Gordon McDonald, General Monitoring and Environmental Control, Inc.

  (“GMEC”), was in fact a shell company controlled by McDonald..

         As detailed in a separate letter regarding the status of discovery that we are submitting to

  the Court today, discovery in this case is vast, and includes at least 500,000 electronic files, as

  well as hundreds of boxes of hard-copy documents. The government is continuing to produce

  discovery, and we have not finished reviewing the discovery that has been produced to date.

  Although other issues, described in further detail in our separately-filed letter, have arisen

  between the parties during the government’s production of discovery, recent discussions between

  the parties now appear to have resolved those issues. To avoid unnecessarily burdening the

  Court, we are not seeking relief from the Court on those matters at this time, with the

  understanding that we may seek the Court’s intervention in the future should it become

  necessary.
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                                           BACKGROUND

           This case arises out of environmental cleanup work performed by Bennett

  Environmental Inc. (“BEI”) at the Federal Creosote Superfund site in Manville, New Jersey over

  a decade ago, from late 2001 until August 2004. John Bennett, the self-made son of a Welsh

  electrician and the inventor of record on 15 patents for environmental cleanup-related equipment

  and processes, is the founder of BEI. Mr. Bennett formed BEI in 1992 to treat contaminated soil

  using a state-of-the-art proprietary thermal treatment process that he developed and refined. He

  served as CEO of BEI until approximately February 2004. The company, which was publicly

  traded on stock exchanges in Canada and the United States, became involved in dozens of

  environmental remediation projects in the United States and abroad, including one project that is

  the subject of the indictment in this case, the Federal Creosote site.

         The Federal Creosote site, as described in the indictment, was contaminated by the

  operation of a wood processing facility that treated railroad ties with coal tar creosote from

  approximately 1910 to the mid-1950s. Creosote is a wood preservative that the United States

  Environmental Protection Agency (“EPA”) believes may cause skin irritation or respiratory

  problems. In the late 1990s, the EPA began to address the cleanup of the Federal Creosote site

  by contracting with the U.S. Army Corps of Engineers (“USACE”) to oversee the remediation.

  USACE, in turn, hired Sevenson Environmental Services Inc. (“Sevenson”)1 to serve as prime

  contractor overseeing the Federal Creosote site. Sevenson, after seeking the consent of USACE,

  contracted with numerous subcontractors, including BEI, to perform remediation work on the

  1
   Based on the government’s Rule 16 discovery and its initial production of limited particulars
  dated March 17, 2015, defense counsel understand that the following terms in the indictment
  have the following meanings: “P-C” refers to Sevenson (the prime contractor on the Federal
  Creosote site), “Company-1” refers to GMEC, “Z.T.” refers to Zul Tejpar, and “R.P.G.” refers to
  Robert Griffiths.



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  site. The specific work performed by BEI at the Federal Creosote site included transporting

  thousands of tons of contaminated soil to Canada and treating that soil through extremely high-

  temperature incineration. The cleanup of the Federal Creosote site was fully completed in 2008,

  and was, by all accounts, a technical success.2

          On August 31, 2009, a grand jury returned a twelve-count indictment charging Mr.

  Bennett, Gordon McDonald (one of the Sevenson employees with responsibility for the Federal

  Creosote site), and James Haas (an employee of a different subcontractor), with various conduct

  relating to the contract procurement process for the remediation of the Federal Creosote site.3

  Only two of those counts are alleged against Mr. Bennett: Count One of the indictment charges

  Mr. Bennett and McDonald with a conspiracy to commit, inter alia, wire fraud and major fraud

  against the United States. Count Two of the indictment charges Mr. Bennett and McDonald with

  major fraud against the United States.

          The fraud-based charges against Mr. Bennett allege that a fraud was perpetrated against

  the EPA in two principal ways:

         “McDONALD, BENNETT, [Zul Tejpar] and [Robert Griffiths] fraudulently inflated the
          amount of BEI’s bid price for a subcontract without USACE’s knowledge, consent or
          authorization. This fraudulently inflated amount included kickbacks . . . plus an amount
          that BEI kept for itself.” Indictment, Count One, ¶ 13 (emphasis added).

         “McDONALD fraudulently disclosed the bid prices of other vendors to BEI before the
          sub-contracts were awarded by [Sevenson] without USACE’s knowledge, consent, or

  2
    In March 2008, the EPA announced that the cleanup of the Federal Creosote site was complete
  and that the EPA was “extremely proud that we have met our cleanup objectives in record
  breaking time.” See EPA News Release, “Cleanup Completed at Federal Creosote Superfund
  Site” (Mar. 7, 2008), available at
  http://yosemite.epa.gov/opa/admpress.nsf/Press%20Releases%20from%20Region%202?OpenVi
  ew.
  3
   Certain charges against defendants McDonald and Haas involved matters unrelated to the
  Federal Creosote site, including tax fraud, and obstruction. Those charges are not relevant here.


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           authorization. BENNETT, [Zul Tejpar] and [Robert Griffiths] then used their knowledge
           of the other vendors’ bid prices to submit the highest possible BEI prices to [Sevenson]
           and still be awarded the sub-contracts. As a result, BEI was awarded the sub-contracts at
           prices higher than it would have otherwise bid, causing the EPA to pay more for these
           sub-contracts than it otherwise would have if the [Federal Acquisition Regulations]
           requirements were followed.” Id. at ¶ 16. (emphasis added)

           Notably, although a criminal fraud charge requires proof of either a misrepresentation or

  failure to disclose a material fact where a specific duty to disclose exists, the indictment does not

  identify what (if any) false statements were made, who made those statements, and in what

  respect the statements were inaccurate, nor, to the extent the indictment may rely on a failure to

  disclose theory, the specific omissions and the source of any duty to disclose. The indictment’s

  silence on these critical points leaves Mr. Bennett in an untenable position of having to prepare

  at trial to rebut an unknown falsehood by an unspecified speaker. Critically, such silence also

  prevents him from identifying the government’s theory of fraud so as to frame an appropriate

  pretrial motion to dismiss or Rule 29 motion during trial.

      I.   DEFENDANT’S REQUEST FOR PARTICULARS
           By letter dated March 3, 2015, counsel for Mr. Bennett made a formal request for

  particulars relating to the indictment. See Ex. A.4 The specific requests asked the government

  to: (1) identify the “fraudulently inflated” bid prices referred to in the indictment, the manner of

  communication, and the respect in which each such communication was false or misleading; (2)

  identify the “false and fraudulent pretenses, representations and promises” referred to in the

  indictment, and the respect in which each such statement was false or misleading; (3) identify the

  disclosure of bid prices that was done “fraudulently,” and specify the respect in which each such

  disclosure was fraudulent. On March 17, 2015, the government provided what it characterized

  4
    Citations in the form “Aff. ¶ __” and “Ex. __” refer to the paragraphs and exhibits,
  respectively, to the accompanying Declaration of Jacob Mermelstein in support of Defendants’
  Motion For a Bill of Particulars and For Brady Material.


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  as an “initial voluntary bill of particulars” identifying certain basic information such as the

  alleged victims of the offenses, the identities of unindicted co-conspirators, and the contracts that

  were affected by the charged conduct. See Ex. B. The government declined, however, to

  identify: (a) which false statements it intends to rely upon at trial; (b) the respect in which any of

  those statements are alleged to be false; or (c) the specific omissions and the source of any duty

  to disclose (to the extent the government’s theory is non-disclosure), all on the basis that those

  requests sought “evidentiary detail regarding the government’s case.” Id.

      II.   DEFENDANT’S REQUEST FOR DISCOVERY
            By letter dated February 28, 2015, counsel for Mr. Bennett made a detailed formal

  request for various specific categories of discovery (the “February 2015 Discovery Request”).

  See Ex. C. To date, the government has produced mountains of documents, including more than

  500,000 electronic documents, and it is in the process of scanning hundreds of boxes of hard-

  copy documents that will be produced to the defense by approximately July 2015.

  Notwithstanding its volume, the government’s discovery thus far has been lacking in a number

  of respects, including omitting a number of key documents expressly requested by defense

  counsel.5 As set forth in our June 8, 2015 letter to the Court, the government has recently agreed

  to take steps to remedy these deficiencies.




  5
   The government also has forced Mr. Bennett to expend needless time and resources to obtain
  the discovery to which he is entitled. For instance, defense counsel were required to make five
  separate written requests to the government prior to the government agreeing to provide a copy
  of the application that the government filed with the District Court under 18 U.S.C. § 3292 to toll
  the statute of limitations, notwithstanding clear case law requiring the government to disclose
  such an application so that the defendant may challenge its adequacy, and the central importance
  of such application to evaluating whether a statute of limitations defense exists. After months of
  unjustified refusal, on June 3, 2015 the government finally agreed to provide such application to
  defense counsel.


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        The government’s discovery also has been chaotic, disordered, and not generally labeled

in a manner usefully identifying the source and nature of the material produced. These defects

have exacerbated the ambiguities inherent in the indictment. The government has acknowledged

that its own electronic productions have been hampered by multiple technological issues and that

the productions that it received from third parties were chaotic and disorganized. Aff. ¶ 6. In

our own review of the produced documents, we have encountered numerous errors, including

missing or mislabeled attachments, inconsistent metadata, defective load files, and re-use of a

single Bates number on multiple distinct documents.

        Even if the government’s production had been logically organized and technologically

sound, review of the vast discovery in this case – over 500,000 documents produced thus far –

would be a daunting task. The technological defects and disorganization of the government’s

production, coupled with the lack of specificity in the charges against Mr. Bennett, have only

exacerbated these problems.

                                               DISCUSSION

  I.    THE GOVERNMENT SHOULD BE ORDERD TO PROVIDE A BILL OF
        PARTICULARS IDENTIFYING THE ESSENCE OF ITS CHARGES AGAINST
        JOHN BENNETT: THE ALLEGED FALSE STATEMENTS
        The government should be directed to identify:

        (1) Which false statements the government intends to rely upon at trial, when and
            by whom those statements were made, and the respect in which any of those
            statements are alleged to be false, and

        (2) If the fraud charges are premised on non-disclosure, the specific omissions
            and the source of any duty to disclose.

        Under Federal Rule of Criminal Procedure 7(f), “The court may direct the government to

file a bill of particulars.” The purposes and functions of a bill of particulars are: (1) to identify

with sufficient particularity the nature of the charges pending against the accused, thereby


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enabling him to prepare for trial; (2) to prevent unfair surprise; and (3) to permit the accused to

interpose a plea of double jeopardy. United States v. Addonizio, 451 F.2d 49, 63-64 (3d Cir.

1971); see also United States v. Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1980). When a bill of

particulars would serve these purposes, the defendant is entitled to it “as of right,” even though it

requires “the furnishing of information which in other circumstances would not be required

because [it would be] evidentiary in nature.” United States v. Agnello, 367 F. Supp. 444, 449

(E.D.N.Y. 1973). Thus, “motions for a bill of particulars should be granted whenever an

indictment’s failure to provide factual or legal information significantly impairs the defendant’s

ability to prepare his defense or is likely to lead to prejudicial surprise at trial.” United States v.

Rosa, 891 F.2d 1063, 1066 (3d Cir. 1989).

        In 1966, Congress amended Rule 7(f) to eliminate the requirement that “cause” be shown

before a bill of particulars may be ordered. This amendment was made specifically “to

encourage a more liberal attitude by the courts toward bills of particulars.” Rosa, 891 F.2d at

1066 (quoting Fed. R. Crim. P. 7, advisory committee’s note to 1966 amendment). The

amendment of Rule 7(f), grants the district court considerable discretion in determining whether

to order a bill of particulars. Doubts as to whether particulars are necessary should be resolved

in favor of a defendant; “[s]ince [a] defendant is presumed innocent . . . it cannot be assumed that

he knows the particulars sought.” United States v. Tucker, 262 F. Supp. 305, 307 (S.D.N.Y.

1966); see also United States v. Rogers, 617 F. Supp. 1024, 1028 (D. Colo. 1985) (the defendant

must “be given the benefit of the doubt in gray areas” (quoting United States. v. Manetti, 323 F.

Supp. 683, 697 (D. Del. 1971))); United States. v. Roque, No. 12-cr-540 (KM), 2013 WL

2474686, at *6 (D.N.J. June 6, 2013) (granting a bill of particulars and observing that “the class

of cases in which a bill of particulars should, or may, be granted is broader than the class of cases



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in which it must be granted”). The prosecution’s reluctance to reveal its case “must yield to

paramount public interest in affording the accused a reasonable foundation for mounting a

defense.” Manetti, 323 F. Supp. at 696.

           a. Fairness Requires that the Government Identify the Claimed False
              Statements That It Intends to Prove at Trial
       Where a charged count is premised on false statements, fundamental fairness requires

that the government particularize its charges by identifying the specific false statements alleged,

and why those statements are allegedly false. As explained in United States v. Trie:

       [A] defendant faced with false statements charges should not have to waste
       precious pre-trial preparation time guessing which statements he has to defend
       against . . . when the government knows precisely the statements on which it
       intends to rely and can easily provide the information.

21 F. Supp. 2d 7, 21-22 (D.D.C. 1998).

       Because the government well knows which statements it will allege to have been

deceptive, and who made those statements, it should not be permitted to ambush Mr. Bennett

with that information at trial. See United States v. Siddiqui, No. 06-cr-377, 2007 WL 549420, at

*3 (S.D.N.Y. Feb. 21, 2007) (“[W]here defendants have prepared multiple statements or

documents, the Government should specify which of these are being called into question, lest

defendants be forced to review all of the statements or documents in order to prepare a defense

of the veracity of each[.]”); United States v. Gatto, 746 F. Supp. 432, 477 (D.N.J. 1990) (“To the

extent that the government is able to do so, the precise date and place of each event alleged in the

indictment should be provided.”), rev’d on other grounds, 924 F.2d 491 (3d Cir. 1991).

       The importance of identifying specific deceptive statements is particularly acute in the

context of a conspiracy charge because, as the Supreme Court has recognized, “a conspiracy case

carries with it the inevitable risk of wrongful attribution of responsibility to one or more of the

multiple defendants.” Dennis v. United States, 384 U.S. 855 (1966). Thus, courts have

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repeatedly required the government, in the context of a conspiracy, to particularize the false or

deceptive statements that the government intends to rely on at trial. See, e.g., Trie, 21 F. Supp.

2d at 21; United States v. Recognition Equip., Inc., 711 F. Supp. 1, 10 (D.D.C. 1989) (requiring

the government to specify “the gist of the statements, concealment, and misrepresentations

alleged” as well as “when and to whom these alleged statements, concealments, and

misrepresentations were made”), abrogated on other grounds by United States v. Williams, 504

U.S. 36, 51-54 (1992); United States v. Yetman, 196 F. Supp. 569, 570 (D. Conn. 1961) (in

conspiracy prosecution, requiring the government to specify what untrue statements it claimed

were made by any defendants and coconspirators, and identify where and when such statements

were made); United States v. Nomura Trading Co., 213 F. Supp. 704, 708 (S.D.N.Y. 1963)

(ordering the government to furnish a copy of each “false and fraudulent document” and specify

“in what respect it is claimed to be false and fraudulent”).

       Here, the government has failed to identify the critical components of the frauds charged:

the false statements or omissions. Indeed, Mr. Bennett cannot discern from the indictment

whether the fraud charges are premised on false statements or omissions, whether a false

statement (or omission) was made by Mr. Bennett himself, or whether the government seeks to

hold Mr. Bennett liable for false statements (or omissions) made by others. Given the lack of

specifics in the indictment, the indirect relationship between BEI and the government – both

compounded by the massive volume of discovery – Mr. Bennett is left to guess as to what false

representations he is alleged to have made, omitted to make, or conspired with others to make.

The universe of statements or omissions that the government could potentially seek to prove

were deceptive is without apparent limits.




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       Putting aside the pejorative adjective “fraudulently” that is sprinkled throughout the

indictment, it is far from clear from the indictment what the United States is alleging that John

Bennett actually did (if anything) to deceive the EPA, when that conduct occurred, and why that

conduct was deceptive. The events described in the indictment span multiple years, and include

at least two prime contracts and seven distinct subcontracts, each of which entailed a vast

number of revisions, clarifications, change orders, work orders, and daily contract-related

correspondence. As noted, the volume of discovery material in this case is massive, consisting

thus far of nearly 500,000 electronic documents and 550 bankers’ boxes containing literally

millions of pages. To prepare for trial, to avoid surprise, and to decide what to investigate (and

equally important, what not to investigate), defense counsel need to know where in the haystack

of discovery are located the needles of allegedly false statements. Given the enormous volume

of discovery, the government should identify which particular documents or portions of

documents the government intends to prove were false or deceptive. Defense counsel should not

be forced to “spin wheels” and expend resources investigating facts that will not be the subject of

proof at trial, nor forced to guess at the government’s theory of how the EPA was deceived, and

what role Mr. Bennett played in that alleged deception.

       As an illustrative example, the indictment alleges that Sevenson was required to award

sub-contracts to the bidder offering the “best value.” Indictment, Count One, ¶ 6. Does the

government intend to prove at trial that the EPA was deceived because BEI was not the bidder

offering the “best value,” and someone represented that to be the case? Who allegedly

misrepresented that, and when? If that is the basis for the fraud charges, then Mr. Bennett is

entitled to know it, so that he can prepare evidence that could either demonstrate that BEI did

offer the “best value” as compared with other competitors, or establish that the document that



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contained the alleged misrepresentation was not known to Mr. Bennett, or whatever else the

applicable defense might be. Given the number of potential witnesses, the potential volume of

evidence, and the fact that expert testimony may be required, substantial advance notice would

be required in order adequately to prepare a defense of that potential government theory. On the

other hand, if the government does not intend to prove that “best value” was a false

representation, then there is no need for defendant to spend resources preparing to address that

non-issue.

       A defendant is entitled to disclosure of “central facts” that will permit him to conduct his

own investigation into the charges against him and to present a proper and adequate defense.

United States v. Vastola, 670 F. Supp. 1244, 1270 (D.N.J. 1987); United States v. Palmisano,

273 F. Supp. 750, 752 (E.D. Pa. 1967) (Due Process requires that a defendant be given notice of

the charges that is “distinct and specific as clearly to advise him what he has to meet, and to give

him a fair and reasonable opportunity to prepare his defense”). Without knowing which

statements the government intends to prove were false, and the respect in which those statements

are alleged to be false, or what specific omissions are claimed and the source of the claimed duty

to disclose, Mr. Bennett cannot prepare adequately to defend the charges against him at trial.

             b. The Massive Volume of Discovery Heightens Defendant’s Need for a Bill of
                Particulars
       The government cannot claim that the voluminous discovery already provided obviates

the need for a bill of particulars. Courts have long recognized that “disclosure by the

government of ‘mountains of documents’ is not an adequate substitute for a bill of particulars

when the government’s disclosure does not provide guidance regarding what it seeks to prove at

trial.” United States v. Lacerda, No. 12-cr-303 (NLH), 2013 WL 3146835, at *14 (D.N.J. June

19, 2013). Indeed, voluminous production of documents by the government, without


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specification of which documents contain false statements, only tends to aggravate the lack of

notice and difficulties of trial preparation, and therefore weighs in favor of granting a bill of

particulars. See United States v. Bin Laden, 92 F. Supp. 2d 225, 234 (S.D.N.Y. 2000) (“[T]he

large volume of material disclosed is precisely what necessitates a bill of particulars.”).

       The Second Circuit decision in Bortnovsky is instructive. In Bortnovsky, a mail fraud

case, the defendants were charged with submission of false claims to insurance companies. The

government turned over to the defense 4,000 documents but failed to specify which of the

documents contained false statements. Reversing the conviction, the Second Circuit stated that

the defendants

       were hindered in preparing for defense by the district court’s failure to compel the
       government to reveal crucial information: the dates of the false burglaries and the identity
       of the three fraudulent documents. The government did not fulfill its obligation merely
       by providing mountains of documents to defense counsel who were left unguided as to
       which documents would be proven falsified . . .

820 F.2d at 574.

       The necessity of a bill of particulars is far stronger here. In Bortnovsky, the government

produced 4,000 documents. The number of documents here – over 500,000 electronic

documents plus millions of pages of hard copy documents thus far – is vastly higher. And, in

Bortnovsky, the indictment specified the content of the alleged false statements, and the entity to

which those false statements were made—statements to insurance companies that burglaries had

occurred when in fact they had not occurred. Id. at 574; see also United States v. Nachamie, 91

F. Supp. 2d 565, 571 (S.D.N.Y. 2000) (ordering bill of particulars over the government’s

objection in a case in which the government “produced over 200,000 pieces of paper in hundreds

of boxes and files, relating to 2000 Medicare claims” but had not informed the defendants

“which of these claims were false and in what way they were false”).



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         Here, the indictment specifies neither the misrepresentations on which the fraud is based,

nor who made those false statements, nor even whether the fraud is based on a misrepresentation

at all, as opposed to an omission—all of which indisputably are essential to a defense of this

case. Indeed, in light of the complexity of the charges, the massive volume of discovery, and the

lengthy time period encompassed by the charged conspiracy, it “smacks of gamesmanship” for

the government to require a defendant “to waste precious pre-trial preparation time guessing

which statements [he has] to defend against . . . when the government knows precisely the

statements on which it intends to rely and can easily provide that information.” Trie, 21 F. Supp.

2d at 21.6

         Accordingly, Mr. Bennett submits that the bill of particulars requested in this motion

should be granted.

    I.   THE GOVERNMENT SHOULD BE DIRECTED TO MAKE IMMEDIATE
         DISCLOSURE OF BRADY MATERIAL
         It is well settled that the government must produce Brady material at the earliest possible

time during discovery. Consistent with that rule, the Court’s November 24, 2014 Order for

Discovery and Inspection obligates the government to produce, by ten days from the date of the

order, “Any material evidence favorable to the defense related to issues of guilt, lack of guilt or

punishment, which is known or that by the exercise of due diligence may become known” to the

government. In defendant’s February 2015 Discovery Request, counsel made a further formal

request for production of Brady materials. See Ex. C.


6
 The fact that the government has provided the transcripts of the trial of Gordon McDonald does
not obviate the need for the particulars requested. Mr. McDonald was charged with a far broader
range of conduct than Mr. Bennett, including remediation sites and contracts that had nothing to
do with Mr. Bennett. Moreover, identifying the government’s theory of fraud against Mr.
McDonald, or the subset of activity at issue in that trial, does not identify the government’s
theory against Mr. Bennett.


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       Over seven months later, the government has not produced anything that it has

characterized as Brady material, nor has it provided any specific response aside from repeated

boilerplate representations that it “remains cognizant of its continuing obligations under . . .

Brady v. Maryland, 474 U.S. 83 (1963), and will continue to produce discovery to you consistent

with those obligations.” The government’s actions and inactions over these seven months

demonstrate beyond question that, in fact, the government is not “cognizant of its continuing

obligations under . . . Brady v. Maryland.” It does not recognize what actually constitutes Brady

material, even when such material is specifically identified, nor has it undertaken an appropriate

review of its files to identify and produce such material, to which Mr. Bennett is entitled under

the Constitution. The Court’s intervention is required.

       Based upon Defense counsel’s independent review of sworn statements submitted by the

government to Canadian authorities in connection with Mr. Bennett’s extradition proceeding,

which statements the government has not produced to the defense in discovery, it is apparent that

the government is in possession of Brady material that has not been disclosed, including

exculpatory oral statements of witnesses whom the government has interviewed. In particular, in

sworn statements by Special Agent Paul Brezinski of the EPA Office of the Inspector General,

contained in the “Record of the Case” dated February 1, 2010, which was prepared by the DOJ

and submitted to Canadian authorities, the government conceded that Robert Griffiths, its key

cooperating witness, informed the government that he had never disclosed to Mr. Bennett that

General Monitoring and Environmental Control Inc. (“GMEC”) was a shell company controlled




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by McDonald.7 See Ex. D at ¶ F (“McDonald admitted to Griffiths that GMEC was, in fact, his

company. Griffiths did not disclose this fact to Bennett or anyone else at BEI.”).

       Mr. Griffith’s blunt denial that he ever told Mr. Bennett the truth about GMEC’s

ownership – and his admission that he concealed that fact from Mr. Bennett – is core Brady

material, and it undermines a central feature of the government’s case against Mr. Bennett. In

particular, the indictment alleges that the vast majority of the kickbacks to McDonald were paid

via wire transfers to GMEC. Those payments were made in connection with invoices from

GMEC that appeared to reflect necessary and genuine soil-testing services performed in

connection with the Federal Creosote site by a legitimate company with an innocuous-sounding

name: General Monitoring and Environmental Control, Inc. The heart of the government’s case

is that GMEC was in fact a sham company controlled by Mr. McDonald, which performed no

actual services, and all payments to GMEC were bribes. That Mr. Bennett was not told the truth

about GMEC is plainly exculpatory and is of crucial importance to the defense.

       After independently discovering this exculpatory fact, defense counsel expressly asked,

by letter dated May 18, 2015, that the government immediately provide full disclosure regarding

Mr. Griffiths’ statements on this issue. To date, the government has not produced any disclosure

requested by our May 18, 2015 letter, nor produced any oral statements by any witnesses, nor

informed the defense of the identities of any witnesses it has interviewed who made other

exculpatory statements. In a June 3, 2015 telephone conference, the government refused to

accept that this exculpatory statement constitutes Brady material. Nonetheless, the government

agreed to review relevant information from FBI 302 reports and witness interviews, and provide
7
 Notably, at the trial of Mr. Bennett’s co-defendant Gordon McDonald, Griffiths testified that he
did tell Mr. Bennett that GMEC was controlled by McDonald. Full disclosure of Mr. Griffiths’
exculpatory statements to the government prior to trial is particularly important in light of
Griffiths’ inconsistent statements in sworn trial testimony.


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that information to the defense. To date—more than six months after the deadline set by the

Court’s November 24, 2014 Order – the government has not conceded that it is in possession of

any Brady material, nor has the government turned over any of Mr. Griffith’s exculpatory

statements on this issue.

       The requirement that the prosecution disclose information favorable to the defense is a

basic rule of fairness mandated by case law and the government’s own guidelines. To permit

defense counsel to effectively use such material in their case preparation and at trial, potentially

favorable evidence must be disclosed at the outset of the case, or immediately upon discovery.

See United States v. Donis, No. 11-cr-251, 2012 WL 3527277, at *1 (W.D. Pa. Aug. 15, 2012)

(“[I]t is well settled that the government’s obligations under Brady require it to disclose actual

exculpatory evidence without undue delay.”); United States v. Lightfoot, No. 08-cr-127, 2008

WL 3050300, at *1 (W.D. Pa. Aug. 5, 2005) (noting the Third Circuit’s “adherence to the long-

standing policy of promoting early production of all types of Brady material to ensure the

effective administration of the criminal justice system,” and ordering that “any exculpatory

Brady evidence . . . shall be disclosed forthwith” upon its discovery by the government

(emphasis added and internal quotation marks omitted)); United States v. Thomas, No. 06-cr-

553, 2006 WL 3095956, at *1-2 (D.N.J. Oct. 30, 2006) (ordering the government to disclose,

inter alia, Brady information, and to “advise[]” defense counsel “in writing of the declination” to

disclose any such exculpatory information within 5 days of the discovery conference); United

States v. Crozzoli, 698 F. Supp. 430, 436 (E.D.N.Y. 1988) (“To permit the prosecution to

withhold exculpatory evidence despite a request until such time as the prosecutor chooses to

disclose it, is to permit the prosecutor to control, to some extent, the preparation of a defense.”).




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        The practice of producing potentially exculpatory information as soon as it is identified

was reaffirmed in Deputy Attorney General Ogden’s January 4, 2010 Memorandum Guidance

for Prosecutors Regarding Criminal Discovery, which was issued in the wake of a number of

high-profile federal cases, including the Ted Stevens prosecution, in which defendants were

prejudiced by Brady violations. The Ogden Memorandum instructs prosecutors that the

Department of Justice’s policy is to “err on the side of inclusiveness,” to “provide[] for broader

disclosures than required by Brady and Giglio,” and that “exculpatory information, regardless of

whether the information is memorialized, must be disclosed to the defendant reasonably

promptly after discovery.”8

        Delays in the production of exculpatory and impeachment material have led the Third

Circuit to repeatedly admonish government attorneys, noting that “such conduct is not in

accordance with the high standard of professional conduct to which they should, indeed must,

adhere.” United States v. Pellot, 43 F. App’x 473, 476 (3d Cir. 2002). As the Third Circuit

recently observed in Breakiron v. Horn, 642 F.3d 126, 133 n.8 (3d Cir. 2011) “[P]rosecutors, so

long after Brady became law, still play games with justice and commit constitutional violations

by secreting and/or withholding exculpatory evidence from the defense.” See also United States

v. Rittweger, 524 F.3d 171, 182 (2d Cir. 2008) (admonishing government for not disclosing

Brady material earlier than the week of trial, “particularly when earlier discovery would not have

had the potential to harm the witness” and where the government produced 200 boxes of

materials well before trial but “withheld until . . . the eve of trial [] the evidence that the

government counsel surely should have known defense counsel was most interested in”).


8
  See David W. Ogden, Deputy Attorney General, U.S. Dep’t of Justice, Memorandum for
Department Prosecutors: Guidance for Prosecutors Regarding Criminal Discovery (Jan. 4, 2010),
available at http://www.justice.gov/dag/memorandum-department-prosecutors.


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       The government’s failure to immediately disclose Mr. Griffiths’ exculpatory statements

to the defense is unjustifiable. Its refusal to recognize that this information is Brady material

evidences a fundamental lack of understanding of the meaning of Brady, that unfortunately,

despite the lessons of Stevens and other cases and the adoption of the Ogden memo, is not as

uncommon as it should be. It is deeply troubling.

       The defense is cognizant that courts often accept the government’s boilerplate

representation that it “is aware and will comply” with Brady, and on that basis, deny as moot a

motion by defense counsel for disclosure of Brady material. Given that seven months after Mr.

Bennett’s first appearance in this case, the government has still not disclosed any Brady material

or even conducted a search for such material – contrary to this Court’s prior directive – and has

continued to refuse to recognize that Mr. Griffith’s obviously exculpatory statements implicate

Brady, the Court cannot simply rely on the government’s hollow assurances. Rather, the

government should be admonished and ordered immediately to comply with its Brady

obligations and with this Court’s November 24, 2014 Order, by conducting a review of its entire

file to identify, and then to turn over to the defense, all exculpatory material, including

summaries of Mr. Griffiths’ exculpatory statements regarding his nondisclosure to Mr. Bennett

of McDonald’s interest in GMEC, and any other exculpatory oral witness statements or other

material, to ensure that Mr. Bennett’s Constitutional rights to due process and a fair trial are

protected.




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                                            CONCLUSION


           For all of the foregoing reasons, we request that the Court grant the relief requested

 herein.


 Dated: New York, New York
        June _8_, 2015

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